Sarah Strickland

From:                Kieran Shanahan
Sent:                Tuesday, April 11, 2023 5:31 PM
To:                  ripley.rand@wbd-us.com
Cc:                  Sarah Strickland; Rillotta, Joseph
Subject:             Azima v. VMS: Motion to Quash Subpoenas to Craig Evers


Ripley,

As you may have seen, we just filed a Mo on to Quash Subpoenas on behalf of our client, Craig Evers, with a suppor ng
Declara on and Memo. While we do plan to mely respond in wri ng to Plain ﬀ’s Subpoena for request of documents,
it is not our inten on to produce our client for his deposi on (currently scheduled for April 18, 2023) un l the Court
rules on our Mo on.

Sincerely,

Kieran Shanahan | Principal




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                                                                                    EXHIBIT 3
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